Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Gates Community Chapel of Rochester, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Freedom Village USA
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5275 State Route 14                                             PO Box 24
                                  Lakemont, NY 14857                                              Lakemont, NY 14857
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Yates                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.freedomvillageusa.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201
                 Case 2-18-20169 Voluntary
                                   Doc 1Petition
                                             Filed   02/23/18 Entered 02/23/18 08:36:59
                                                 for Non-Individuals Filing for Bankruptcy
                                                                                                                                Desc Main            page 1
                                               Document           Page 1 of 12
Debtor    Gates Community Chapel of Rochester, Inc.                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8131

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




Official Form 201
                 Case 2-18-20169 Voluntary
                                   Doc 1Petition
                                             Filed   02/23/18 Entered 02/23/18 08:36:59
                                                 for Non-Individuals Filing for Bankruptcy
                                                                                                                                           Desc Main      page 2
                                               Document           Page 2 of 12
Debtor   Gates Community Chapel of Rochester, Inc.                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




                Case 2-18-20169 Voluntary
Official Form 201
                                  Doc 1Petition
                                            Filed   02/23/18 Entered 02/23/18 08:36:59
                                                for Non-Individuals Filing for Bankruptcy
                                                                                                                                     Desc Main             page 3
                                              Document           Page 3 of 12
Debtor    Gates Community Chapel of Rochester, Inc.                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 21, 2018
                                                  MM / DD / YYYY


                             X   /s/ Fletcher A. Brothers                                                 Fletcher A. Brothers
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Mike Krueger, Esq.                                                    Date February 21, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mike Krueger, Esq.
                                 Printed name

                                 Dibble & Miller, P.C.
                                 Firm name

                                 55 Canterbury Rd.
                                 Rochester, NY 14607
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     585-271-1500                  Email address      mjk@dibblelaw.com

                                  NY
                                 Bar number and State




Official Form 201
                 Case 2-18-20169 Voluntary
                                   Doc 1Petition
                                             Filed   02/23/18 Entered 02/23/18 08:36:59
                                                 for Non-Individuals Filing for Bankruptcy
                                                                                                                                   Desc Main              page 4
                                               Document           Page 4 of 12
 Fill in this information to identify the case:
 Debtor name Gates Community Chapel of Rochester, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NEW                                                                                      Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NYS Department of                                               Alleged unpaid         Disputed                                                                      $1,523,834.19
 Labor                                                           wages, interest &
 Larissa C. Bates,                                               penalties
 Esq.
 W.A. Harriman
 Campus
 Building 12; Room
 509
 Albany, NY 12240
 WSIV/WVOA Radio                                                 Advertising                                                                                              $25,000.00
 7095 Myers Rd.
 East Syracuse, NY
 13057
 The Life FM                                                     Advertising                                                                                              $12,890.00
 PO Box 25051
 Greenville, SC 29616
 Great Lakes Radio                                               Advertising                                                                                                $8,250.00
 Detroit
 2994 E. Grand Blvd.
 Detroit, MI 48202
 Exceed Marketing                                                Advertising                                                                                                $6,000.00
 Solutions, LLC
 15954 Jackson
 Creek Pkwy
 Suite B #582
 Monument, CO
 80132
 Your Cause                                                      Software                                                                                                   $4,263.00
 6111 W. Plano
 Parkway
 Suite 1000YC
 Plano, TX 75093
 WLNL Radio                                                      Advertising                                                                                                $4,200.00
 3134 Lake Rd.
 Horseheads, NY
 14845



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    Case 2-18-20169                      Doc 1       Filed 02/23/18 Entered 02/23/18 08:36:59                                        Desc Main
                                                                      Document     Page 5 of 12
 Debtor    Gates Community Chapel of Rochester, Inc.                                                          Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 NYS Department of                                                                                                                                                                $1.00
 Taxation & Finance
 PO Box 5300
 Albany, NY
 12205-0300
 IRS                                                                                                                                                                              $1.00
 P. O. Box 7346
 Philadelphia, PA
 19101-7346




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    Case 2-18-20169                      Doc 1       Filed 02/23/18 Entered 02/23/18 08:36:59                                        Desc Main
                                                                      Document     Page 6 of 12
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Western District of New York
 In re       Gates Community Chapel of Rochester, Inc.                                                        Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept an initial retainer of                           $                 35,000.00
             Prior to the filing of this statement I have received                                        $                 35,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]

                  Prosecute Chapter 11 on an hourly basis, subject to Court approval.


                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 21, 2018                                                            /s/ Mike Krueger, Esq.
     Date                                                                         Mike Krueger, Esq.
                                                                                  Signature of Attorney
                                                                                  Dibble & Miller, P.C.
                                                                                  55 Canterbury Rd.
                                                                                  Rochester, NY 14607
                                                                                  585-271-1500 Fax: 585-271-0118
                                                                                  mjk@dibblelaw.com
                                                                                  Name of law firm




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy

               Case 2-18-20169                      Doc 1            Filed 02/23/18 Entered 02/23/18 08:36:59                    Desc Main
                                                                      Document     Page 7 of 12
                                                               United States Bankruptcy Court
                                                                      Western District of New York
 In re      Gates Community Chapel of Rochester, Inc.                                                                 Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                              Security Class Number of Securities                        Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date February 21, 2018                                                       Signature /s/ Fletcher A. Brothers
                                                                                            Fletcher A. Brothers

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



               Case 2-18-20169                      Doc 1            Filed 02/23/18 Entered 02/23/18 08:36:59                             Desc Main
                                                                      Document     Page 8 of 12
                                                               United States Bankruptcy Court
                                                                      Western District of New York
 In re      Gates Community Chapel of Rochester, Inc.                                                     Case No.
                                                                                    Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       February 21, 2018                                           /s/ Fletcher A. Brothers
                                                                         Fletcher A. Brothers/President
                                                                         Signer/Title




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy

               Case 2-18-20169                      Doc 1            Filed 02/23/18 Entered 02/23/18 08:36:59             Desc Main
                                                                      Document     Page 9 of 12
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                       Estate of Emerson Frey
                       C/O Quintin Frey, Executor
                       3521 Anchor Rd.
                       Washington Boro, PA 17582-9604


                       Exceed Marketing Solutions, LLC
                       15954 Jackson Creek Pkwy
                       Suite B #582
                       Monument, CO 80132


                       Great Lakes Radio Detroit
                       2994 E. Grand Blvd.
                       Detroit, MI 48202


                       Industrial Board of Appeals
                       State Office Building Campus
                       Building 12, Room 116
                       Albany, NY 12240


                       IRS
                       P. O. Box 7346
                       Philadelphia, PA 19101-7346


                       Lawrence T. O'Reilly
                       Thomas J. O'Reilly
                       C/O Donald A. Schneider, Esq.
                       307 Liberty St.
                       Penn Yan, NY 14527


                       Morgenstern DeVoesick PLLC
                       Vivek Thiagarajan, Esq.
                       1080 Pittsford Victor Rd, Suite 200
                       Pittsford, NY 14534


                       NYS Department of Labor
                       Larissa C. Bates, Esq.
                       W.A. Harriman Campus
                       Building 12; Room 509
                       Albany, NY 12240


                       NYS Department of Taxation & Finance
                       PO Box 5300
                       Albany, NY 12205-0300




    Case 2-18-20169   Doc 1   Filed 02/23/18 Entered 02/23/18 08:36:59   Desc Main
                              Document      Page 10 of 12
                   NYS Unemployment
                   ATTN: Insolvency Unit
                   State Office Building Campus
                   Building 12, Room 256
                   Albany, NY 12240


                   Office of the Attorney General
                   144 Exchange Boulevard
                   Rochester, NY 14614-2176


                   Sammy Feldman, Esq.
                   3445 Winton Place
                   Suite 228
                   Rochester, NY 14623


                   The Life FM
                   PO Box 25051
                   Greenville, SC 29616


                   U.S. Attorney’s Office
                   100 State St.
                   Suite 500
                   Rochester, NY 14614


                   WLNL Radio
                   3134 Lake Rd.
                   Horseheads, NY 14845


                   WSIV/WVOA Radio
                   7095 Myers Rd.
                   East Syracuse, NY 13057


                   Yates County Treasurer
                   415 Liberty St.
                   Penn Yan, NY 14527


                   Your Cause
                   6111 W. Plano Parkway
                   Suite 1000YC
                   Plano, TX 75093




Case 2-18-20169   Doc 1   Filed 02/23/18 Entered 02/23/18 08:36:59   Desc Main
                          Document      Page 11 of 12
                                                               United States Bankruptcy Court
                                                                      Western District of New York
 In re      Gates Community Chapel of Rochester, Inc.                                                    Case No.
                                                                                    Debtor(s)            Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Gates Community Chapel of Rochester, Inc. in the above captioned action, certifies
that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s)
10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 February 21, 2018                                                     /s/ Mike Krueger, Esq.
 Date                                                                  Mike Krueger, Esq.
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Gates Community Chapel of Rochester, Inc.
                                                                       Dibble & Miller, P.C.
                                                                       55 Canterbury Rd.
                                                                       Rochester, NY 14607
                                                                       585-271-1500 Fax:585-271-0118
                                                                       mjk@dibblelaw.com




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy

               Case 2-18-20169                      Doc 1            Filed 02/23/18 Entered 02/23/18 08:36:59            Desc Main
                                                                     Document      Page 12 of 12
